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                 4                                   UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                    ***
                 7      UNITED STATES OF AMERICA,                             Case No. 2:92-CR-181 JCM (NA)
                 8                                            Plaintiff(s),                      ORDER
                 9              v.
               10       RAMON EDMOND, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is pro se defendant Ramon Edmond’s motion for appointment
               14      of counsel to seek early termination of supervised release. (ECF No. 406).
               15              Accordingly,
               16              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the federal public
               17      defender is appointed as counsel to represent the defendant unless the federal public defender
               18      declines the appointment, on the basis of a conflict, no later than fourteen (14) days from the date
               19      of this order.
               20              IT IS FURTHER ORDERED that the clerk of court shall distribute a copy of the document
               21      filed by the defendant to the federal public defender, the United States attorney, and the U.S.
               22      probation office forthwith.
               23              IT IS FURTHER ORDERED that the United States attorney or the federal public defender
               24      may request that the probation office provide the defendant’s disciplinary records from the Bureau
               25      of Prisons. If the United States attorney or the federal public defender makes such a request, the
               26      disciplinary records shall be served on the federal public defender, the United States attorney, and
               27      the court within thirty (30) days after receiving the request unless for good cause the time is
               28      extended.

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                1             IT IS FURTHER ORDERED that the federal public defender shall, within 120 days of this
                2      order, file any appropriate motion or stipulation. If the federal public defender files a motion for
                3      early termination of supervision, the United States attorney shall serve any response to such motion
                4      within twenty-one (21) days of the filing of that motion unless for good cause the time is extended.
                5             IT IS FURTHER ORDERED that defendant shall submit an updated financial affidavit,
                6      under seal, to establish that he cannot afford to retain private counsel.
                7             DATED August 30, 2017.
                8                                                     __________________________________________
                                                                      UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                     -2-
